Case 2:10-cv-08888-CJB-JCW Document 79537 Filed 04/20/11 Page 1of3

os \' % IN RE: OIL SPILL by “Deepwater Horizon”

ae et DIRECT FILING SHORT FORM'
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ON _,¢#;, \.Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
‘ nkCopics'of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)
mou 2179 °

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
af., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et ai., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“Bt Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179}.

Last Name First Name Middle Name/Maiden Suffix
Tran Bryan

Phone Number — E-Mail Address .
(228)383-6009 ee abui727@amail.com

Address | City / State / Zip

INDIVIDUAL CLAIM _ BUSINESS CLAIM |

Employer Name Business Name
Master Kinaston

Job Title / Description Type of Business
deckhan oo venvueveantunvinaniiiiinaiiis fatness

Address . Address

1236 Heron Lake Circle

City / State / Zip City / State / Zip

Mobile, Ala. 36693

Attorney Name Firn Name
Address , City/State/Zip st”
Phone Number - E-Mail Address
a te
Claim filed with BP? YES NO oO Claim Filed with GCCF?; YES NO
If yes, BP Claim No.: If yes, Claimant Identification Ne.: 1179891

a
Claim Type (Please check all that apply):

[ Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Earnings/Profit Loss Loss of Subsistence use of Natural Resources
| Personat Injury/Death Removal and/or clean-up costs

Other:

4

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff ta file a Plaintiff Profile Form.

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Brief Description:

1. For earnings/profit joss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

I'm a deckhand of a commercial shrimp boat, Master Kingston. The vessel home port is in

Bayou La Batre, Alabama.

| shrimp out of gulf coast water, such as Alabama, Louisiana, and the Gulf of Mexico water.

Uhave.suffer.a.loss.of.earning/profit.due, to.the Deepwater Horizon. incident.that occurred on..........

April 20,.2010

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, inciude your role in the clean-up activities, the name of your
employer, and where you were working.

2
The filing of this Direct Filing Short Form shail also serve in Neu of the requirement of a Plaintiff to file a Plaintiff Profite Form.

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Please check the box(es) below that you think apply to you and your claims:

Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

oO 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

oO a Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, ar charter
fishing business who earn their living through the use of the Gulf of Mexico.

oO 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

[| 5. Recreational sport fishermen, recreational diver, beachgoer, or recreatianal boater.

E] 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

oO 7 Owner, lessor, or lessee of real propert y alleged to be damaged, harmed or impacted, physically or economically, including
lessees of oyster beds.

CJ & = Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.

CJ 9. Bank, financial institution, or retail business that suffered losses as a result of the spill,

oO 10. Person who utilizes natural resources for subsistence.

CI 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3

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C4.

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Boat captain or crew involved in the Vessels of Opportunity program.
Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

Vessel captain or crew who was nat involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
Resident who lives or works in clase proximity to coastal waters.

Other:

Both BP and the Gulf Coast Claim s Facility ("GCCF”) are hereby authorized to release to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

ff Sr bem Tar

Claimartér Attomey Signature

Bryan Tran

Print Name

April 16,2011

Date

3

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

